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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             §
                                                     §
                                                     §
V.                                                           CAUSE NO. 1:21-CR-327-RC-1
                                                     §
                                                     §
LUKE RUSSELL COFFEE                                  §

               THIRD UNOPPOSED MOTION FOR CONTINUANCE OF
                       STATUS CONFERENCE HEARING
       TO THE HONORABLE RUDOLPH CONTRERAS, DISTRICT JUDGE OF THE

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA:

       COMES NOW Defendant, Luke Russell Coffee, by and through his attorney of record,

Anthony J. Colton, hereby requests a continuance of the Status Conference Hearing. Mr. Coffee

shows this Honorable Court as follows.

                                                I.
       Mr. Coffee is scheduled to appear before this Court for a status conference hearing

on Wednesday, April 27, 2022.

                                               II.
       Counsel is awaiting additional discovery from the Federal Bureau of Investigations.

Counsel requests that the hearing be reset for at least an additional sixty (60) days in order to

allow time to receive and review the additional discovery. Mr. Coffee waives his speedy trial

rights to allow for this delay. Undersigned respectfully requests the hearing be reset.

                                                III.

      On January 12, 2022, Mr. Coffee filed a Motion to File Under Seal with an incorporated

 Motion to Modify Pretrial Conditions of Release. The motions are still pending before the
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 Court. Also, Counsel filed a supplement today to the pending motions.

                                        CONCLUSION
       This motion is not made for purposes of delay, but in the interests of justice.

       WHEREFORE, PREMISES CONSIDERED, Defendant prays that this Honorable

Court enter an Order granting this Motion and continue the status conference hearing.




                                            Respectfully submitted.

                                            MAUREEN SCOTT FRANCO
                                            Federal Public Defender


                                            /S/ ANTHONY J. COLTON
                                            Supervisory Assistant Federal Public Defender
                                            Western District of Texas
                                            200 East Wall St., Room 110
                                            Midland, Texas 79701
                                            Tel.: (830) 703-2040
                                            Attorney for Defendant
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                             CERTIFICATE OF CONFERENCE
       I certify that I conferred with Peter Lallas, Assistant United States Attorney, concerning
this motion and he is unopposed to the filing and granting of the same.

                                                            /S/ ANTHONY J. COLTON
                                                            Attorney for Defendant




                                 CERTIFICATE OF SERVICE
         I hereby certify that on the 21st day of April 2022, I electronically filed the foregoing
 Motion for Continuance with the Clerk of Court using the CM/ECF system which will send
 notification of such filing to the following:


 Peter Lallas
 Assistant United States Attorney


                                                             /S/ ANTHONY J. COLTON
                                                             Attorney for Defendant
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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       §
                                               §
                                               §
V.                                                        CAUSE NO. 1:21-CR-327-RC-1
                                               §
                                               §
LUKE RUSSELL COFFEE                            §


                                             ORDER
       On this date came on to be considered the Defendant’s Third Motion for Continuance of

Status Conference Hearing, and the Court having considered the premises, is of the

opinion that the same should be and is hereby GRANTED.

      SO ORDERED on this the            day of April 2022.




                                          HONORABLE RUDOLPH CONTRERAS
                                          United States District Judge
